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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, : CIVIL ACTION ACTION
PLAINTIFF, :
CASE NO.: 05-1812 (RBW)
Vv.
HARLEY G. LAPPIN, DIRECTOR,

FEDERAL BUREAU OF PRISONS,
DEFENDANTS

DECLARATION OF CHRISTINE M. GREENE

I, the undersigned, Christine M. Greene, do hereby make the
following unsworn declaration, pertinent to the above-styled and

numbered cause.

1. I am a Paralegal Specialist for the Federal Bureau of Prisons
(Bureau), Consolidated Legal Center, Coleman, Florida. In this
position, my responsibilities include processing FOIA requests for
the Southeast Regional Office by requesting the sought documents
from institutions in SERO. This includes searching for the
requested documents at FCC Coleman, and requesting documents
directly from SERO and those institutions I am directly
responsible for which include Florida, Puerto Rico, and Alabama.
This declaration supplements a prior declaration made by Georganne

Osborn, Paralegal Specialist from SERO, dated October 17, 2008.

2. In reviewing the original request and reviewing the response
prepared by Ms. Osborn, my understanding is she previously
conducted a search for responsive records regarding request, 2003-
08557, in which the requester sought copies of all documents

showing all money paid by the Bureau of Prisons for lawsuits and
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claims against it from the dates of January 1, 1996, through and
including July 31, 2003. In September 2006, she was contacted by

Wilson Moorer, to search for records in response to this request.

The only responsive records maintained in SERO included litigation
and administrative Tort Claims. No other records were maintained

by SERO.

The only means of creating an accurate and complete list of
responsive records maintained in SERO, was to generate a report
utilizing the Lawpack database for all responsive administrative
torts. All Tort Claims processed by SERO for the time period in
question were logged into Lawpack. Based on the generated search

report in Lawpack all responsive claims were identified.

Additionally, Ms. Osborn previously conducted a review regarding
litigation by reviewing the Southeast Regional log for relevant
litigation. This log contains the relevant information for
litigation processed by SERO office for the time period in
question. Based on her review of the log, all responsive claims

were identified.

Based on my review of the logs she identified, I have also
determined that all responsive claims maintained in SERO had been

identified and a list was created of those identified documents.
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The logs and Lawpack search report are only source that would

reveal responsive documents maintained by SERO.

7. Based on the list created as a result of Ms. Osborn’s review of
logs and Lawpack search reports, she previously retrieved and
forwarded the responsive documents as described in her original
declaration dated October 17, 2008, to Wilson Moorer in their
original form. She did not redact any of the documents or apply

any exemptions.

I declare under the penalty of perjury and pursuant to 28 U.S.C.
$ 1746 that the foregoing is true and correct to the best of my

knowledge and belief.

Executed this Lb day of March of 2010.

by wala M1 roenp

Christine M. Greene
Paralegal Specialist
Coleman Consolidated Legal Center, SERO

